                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
       vs.                                         )       No. 21-03114-01-CR-S-RK
                                                   )
JASON STEWART,                                     )
                                                   )
                          Defendant.               )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to the Information

and admitted to the Forfeiture Allegation contained in the Information filed on September 16,

2021, is now Accepted and the Defendant is Adjudged Guilty of such offense. Sentencing will be

set by subsequent Order of the Court.



                                                        /s/ Roseann Ketchmark
                                                      ROSEANN KETCHMARK
                                                   UNITED STATES DISTRICT JUDGE




Date: October 1, 2021




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